                              Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 1 of 38

                                                                                                      8013072000016142

                     Doc ID: 123C51110003000
                     RAMSEY COUNTY CHILD SUPPORT AND COLLECTIONS
                     121 SEVENTH PLACE E, STE 4500
                     ST PAUL MN 55101

                     TELEPHONE: 651-266-3344




                                                                              IVAN BROWN
                                                                              269 REAVES RD
IM=1••1=1•11111
                                                                              WOODBURY GA 30293-3397

              11/02/2016


—                 RE: Ivan Brown
—                 SSN: XXX-XX-XXXX
                  Case: 001469546601

                                                         Notice of Levy
11.1.      11=1




                    This information is available in accessible formats for individuals with disabilities by calling
                    651-431-4199, toll free 800-657-3954, or by using your preferred relay service.
                    For other information on disability rights and protections, contact the agency's ADA coordinator.



              Purpose
              This notice tells you
                     * We took action to seize your financial account(s) at Bank Of America Na.
                     * How to contest (challenge) this action.
                     * How you can prevent future levies.

              Notice
              You are at least five times past due in paying your total court-ordered child support, or maintenance
              payments, or both. You have not obeyed a written payment agreement to pay your monthly support or
              maintenance payments, or both. Under Minnesota Statute, Chapters 518, 518A and 552, you have met the
              criteria to have your account seized.

              The levy (amount we intend to collect from your account) is $72,279.61.

              Exemptions
              You must complete and personally serve Ramsey with the Claim of Exemption form no later than 20
              calendar days from the date this notice was postmarked. All or a portion of the funds in your account may
              be exempt (excused) from a support judgment levy if:

                        * You are receiving reli4based on need. This includes. Minnesota Family Investment Program
                          (MFIP), Emergency Assistance (EA), General Assistance (GA), General Assistance Medical
                          Care (GAMC), Emergency General Assistance (EGA), Work Readiness, Minnesota
                          Supplemental Aid (MSA), MSA Emergency Assistance (MSA-EA), ,tid Supplemental


              Doc ID: 123CS1110003000                                                              (FMIN0001 F5100.009)
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                              DEPARTMENT OF VETERANS AFFAIRS
                                      Atlanta Regional Office
                                          PO Box 100021
                                      Decatur GA 30011-7021




                                                           In Reply Refer To:   316/21/PD3/BJC
 IVAN BROWN
                                                                                CSS 573 51 1960
 PO BOX 960219
                                                                                BROWN, IVA_N
 RIVERDALE, GA 30296

 Dear Mr. Biown:

  We made a decision on the claim for an apportionment Of your VA compensation, which we
- teceiv-ed from Lachaela M. Brown on behalf of Navi Brown on January 31, 2011.

 This letter tells you what we decided and the evidence used to decide your claim. We have also ,
 included infoithation about what ,to do if you disagree with our decision, and who to contact if
 you have questions or need assistance.

 Your Award Amount and Payment Change Date
    Your monthly entitlement amount is shown below:
                                                                                   ,
   Total VA      Amount          Amount       Effective Date           Reason For Change
    Benefit      Withheld         Paid

   $2,774.00        $20 00-      $2,574.00    Feb 1,2011 ,       Allotment Adjustment
                                                                 (Apportionment Granted for
                                                                 Navi)
     2,873.00        200.00       2,673.00    Dec 1,2011         Cost of Living Adjustment
     2,769.00          0.00       2,769.00    Jan 23, 2022       Minor Child Adjustment
                                                                 (Navi turns 18 years in age -and
                                                                 is removed from award)
                                                                 Allotment Adjustment
                                                                 (Apportionment withholding
                                                                 for Navi terminates)

    We are currently paying you as a veteran with one dependent. Your payment includes an
    additional amount for your child Navi Brown. Let us kna0 right away if there is any change
    in the status ofyour dependents. ,

 What-We Decided
    We have granted an apportionment in the total amount of $200.00 monthly to Lachaela M.
    Brown on behalf of your child Navi Brown effective January 31, 2011 with an effective
    payment date of February 1, 2011.




                                                                                    II II         II II II II
              Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 3 of 38




    The payment of this apportionment may be affected by any of the following:

     •     Change in dependency status (i.e., death, divorce, marriage of minor, termination of
           school attendance).
     •     Change of custody of minor children.
     •     Change in your disability.
     •     Change in your income (if receiving pension).

    Any new evidence which you would believe would justify a different decision should be sent
    to us promptly. You may also request a personal hearing on this matter. If you have no further
    evidence but believe this decision is not correct, please see the attached notice of procedural
    and appellate rights.

What Do You Owe?
    We have created an overpayment in your account because the infonnation we received showed
    that you were paid too much. You will receive a separate letter, which will explain how much
    you were overpaid, and will explain how you can repay this debt.

Evidence Used to Decide Your Claim
    In making our decision, we considered:

•        VA Foini 21-0788 "Infoiniation Regarding Apportionment of Beneficiary's Award) received
         January 31, 2011 and May 30, 2012

•     State of Minnesota Findings of Fact, Conclusions of Law and Order
     (Court File Number: FA-10-284) received May 12, 2011 and May 30, 2012

•        VA Foil," 21-0820 "Report of General Infonnation" received September 27, 2012 and
         September 12, 2012 (Infoimation provided by claimant, Lachaela M. Brown and veteran,
         Ivan Brown)

What You Should Do If You Disagree With Our Decision
    If you have no further evidence but believe this decision is not correct, you also have the right
    to request a hearing on the matter. Please see the attached notice of procedural and appellate
    rights. If you think our decision is wrong, you should write and tell us why. The enclosed VA
    Form 4107c, "Your Rights to Appeal Our Decision— Contested Claims," explains your right
    to appeal.. A notice of disagreement must be submitted within 60 days of the date of this
    letter.
             Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 4 of 38




If You Have Questions or Need Assistance
   If you have any questions, you may contact us by telephone, e-mail, or letter.

    If you                  Here is what to do.
      Telephone             Call us at 1-800-827-1000. If you use a
                            Telecommunications Device for the Deaf (TDD), the
                            number is 711.
      Use the Internet      Send electronic inquiries through the Internet at
                            https://iris.va.gov.
      Write                 Put your full name and VA file number on the letter. Please
                            send all correspondence to the address at the top of this
                            letter.

   In all cases, be sure to refer to your VA file number 573 51 1960.

  If you are looking for general information about benefits and eligibility, you should visit our
  website at https://www.va.gov, or search the Frequently Asked Questions (FAQs) at
  https://iris.va.gov.

  We sent a copy of this letter to your representative, Disabled American Veterans, whom you
  can also contact if you have questions or need assistance.

Sincerely,

Dociffead 60-0440

DOUGLAS CHAPMAN
Veterans Service Center Manager

Email us at: httpslliris.va.gov

Enclosure:      VA Folin 4107c

cc: DAV
                    Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 5 of 38



an Department of Veterans Affairs
               YOUR RIGHTS TO APPEAL OUR DECISION - CONTESTED CLAIMS

   After careful and compassionate consideration, a decision has been reached on your claim. If we were not able
   to grant some or all of the VA benefits you asked for, this form will explain what you can do if you disagree
   with our decision. If you do not agree with our decision, you may:
           Oappeal to the Board of Veterans Appeals (the Board) by telling us you disagree with our decision
           Ogive us evidence-we do not already have that may lead us to change our decision
   This form will tell you how to appeal to the Board and how to send us more evidence. You can do either one
   or both of these things.
   NOTE: Please direct all new evidence to the address at the top of our letter. Do not send evidence directly
   to the Board until you receive written notice from the Board that they received your appeal.
                   WHAT IS AN APPEAL TO THE BOARD OF VETERANS' APPEALS?
   An appeal is your formal request that the Board review the evidence in your VA file and review the law that
   applies to your appeal. The Board can either agree with our decision or change it. The Board can also send
   your file back to us for more processing before the Board makes its decision.
                                     HOW CAN I APPEAL THE DECISION?
   How do I start my appeal? To begin your appeal, write us a letter telling us you disagree with our decision.
   This letter is called your "Notice of Disagreement." If we denied more than one claim for a benefit (for
   example, if you claimed compensation for three disabilities and we denied two of them), please tell us in your
   letter which claims you are appealing. Send your Notice of Disagreement to the address at the top of our
   letter.
   What happens after VA receives my Notice of Disagreement? We will either grant your claim or send you
   a Statement of the Case. A Statement of the Case describes the facts, laws, regulations, and reasons that we
   used to make our decision. We will also send you a VA Foini 9, "Appeal to Board of Veterans' Appeals," with
   the Statement of the Case. You must complete this VA Foul' 9 and return it to us if you want to continue your
   appeal.
   How long do I have to start my appeal? You have 60 days to appeal our decision. Your letter saying that
   you disagree with our decision must be postmarked (or received by us) within 60 days from the date of our
   letter denying you the benefit. In most cases, you cannot appeal a decision after this 60-day period has ended.

   What happens if I do not start my appeal on time? If you do not start your appeal on time, our decision
   will become final. Once our decision is final, you cannot get the VA benefit we denied unless you either:
           Oshow that we were clearly wrong to deny the benefit or
           Osend us new evidence that relates to the reason we denied your claim
   Can I get a hearing with the Board? Yes. If you decide to appeal, the Board will give you a hearing if you
   want one. The VA Farm 9 we will send you with the Statement of the Case has complete information about
   the kinds of hearings the Board offers and convenient check boxes for requesting a Board hearing. The Board
   does not require you to have a hearing. It is your choice.
   Where can I find out more about appealing to the Board?
     OYou can find a "plain language" booklet called "How Do I Appeal," on the Internet at:
       http://www.va,gov/vbs/bva/pamphlethtui. The booklet also may be requested by writing to: Mail
       Processing Section (014), Board of Veterans' Appeals, 810 Vermont Avenue, NW, Washington, DC
       20420.
           OYou can find the faunal rules for appealing to the Board in the Board's Rules of Practice at title 38,
            Code of Federal Regulations, Part 20. You can find the complete Code of Federal Regulations on the
            Internet at: http://ww-w.gpoaccess.gov/cfr/index.hrml. A printed copy of the Code of Federal
            Regulations may be available at your local law library.


VA FORM                                        (Please continue reading on page 2)                 Adobe LiveCycle Designer 7.1
SEP 2009
                     Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 6 of 38



    Can I get someone to help me with my appeal to the Board? Yes. You can have a veterans' service
    organization representative, an attorney-at-law, or an "agent" help you with your appeal. But you are not
    required to have someone represent you. It is your choice.
         ORepresentatives who work for accredited veterans' service organizations know how to prepare and
          present claims and will represent you. You can find a listing of these organizations on the Internet at:
          http://www.va.gov/vso•
         OA private attorney or an "agent" can also represent you. If applicable, your local bar association may
          be able to refer you to an attorney with experience in veterans' law. VA only recognizes attorneys
          who are licensed to practice in the United States or in one of its territories or possessions. An agent is
          a person who is not a lawyer, but who VA recognizes as being knowledgeable about veterans' law.
          Contact us if you would like to know if there is a VA accredited agent in your area.
    Do I have to pay someone to help me with my appeal to the Board? It depends on who helps you. The
    following explains the differences.
         OVeterans' service organizations will represent you for free.
         OAttorneys or agents can charge you for helping you under some circumstances. Paying their fees for
          helping you with your appeal to the Board is your responsibility. If you do hire an attorney or agent
          to represent you, one of you must send a copy of any fee agreement to the following address within
          30 days from the date the agreement is executed: Office of the General Counsel (022D), 810
          Vermont Avenue, NW, Washington, DC 20420. See 38 C.F.R. 14.636(g). If the fee agreement
          provides for the direct payment of fees out of past-due benefits, a copy of the agreement must also be
          filed with us at the address at the top of our letter. See 38 C.F.R. 14.636(h)(4).

                                    CAN I GIVE VA ADDITIONAL EVIDENCE?

   Yes. You can send us more evidence to support a claim whether or not you appeal to the Board. If you want
   to appeal, though, do not forget the 60-day time limit!

   If you have more evidence to support a claim, it is in your best interest to give us that evidence as soon as you
   can. We will consider your evidence and let you know whether it changes our decision. Please keep in mind
   that we can only consider new evidence that: (1) we have not already seen and (2) relates to your claim. You
   may give us this evidence either in writing or at a personal hearing.

       In writing. To support your claim, you may send documents and written statements to us at the address on
       the top of our letter. Tell us in a letter how these documents and statements should change our earlier
       decision.
       At a personal hearing. You may request a local hearing with us at any time. This hearing is separate from
       any Board hearing you might ask for later if you appeal. We do not require you to have one. It is your
       choice. At this hearing, you may speak, bring witnesses to speak on your behalf, and hand us written
       evidence. If you want a hearing, send us a letter asking for a hearing. Use the address at the top of our
       letter. We will then:
        e arrange a time and place for the hearing
        • provide a room for the hearing
        • assign someone to hear your evidence
        • make a written record of the hearing

                                  WHAT HAPPENS AFTER I GIVE VA EVIDENCE?

   We will review the record of the horing and other new evidence, together with the evidence we already have.
   We will then decide if we can grant your claim. If we cannot grant your claim and you appeal, we will send
   the new evidence and the record of any local hearing to the Board.




BACK OF VA FORM 4107c, SEP 2009            SUPERSEDES VA FORM 4107C, JUN 2008,                     Adobe LiveCycle Designer 7.1
                                           WHICH WILL NOT BE USED.
             Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 7 of 38
                                                                                                           State of Minnes
                                                                                                           7/16/2020 8:47 ,




 STATE OF MINNESOTA                                                              DISTRICT COURT
 COUNTY OF RAMSEY                                                       SECOND JUDICIAL DISTRICT
                                                                         CASE TYPE: DISSOLUTION

 In Re the Marriage of:

 Lachaela Myretta Brown,                                            ORDER GRANTING
                                                             CONFIDENTIAL ADDRESS REQUEST
                    Petitioner(s),
  and                                                              Court File No. 62-FA-10-284
                                                                IV-D Case Number 0014695466-01
 Ivan Brown,
                   Respondent,
 And

 Ramsey County,

                    Intervenor.
         The above-entitled matter came before the undersigned Judicial Officer based upon a
motion by the public authority that the address of the party listed below not be disclosed to the
other party and be treated as confidential in this court file.

         This matter came on for hearing before the undersigned on June 18, 2020.         Based on a
review of the files, affidavit(s), and upon hearing the testimony of the parties presented, and being
fully advised, the court makes the following:
                 ORDER GRANTING CONFIDENTIAL ADDRESS REQUEST
                                              FINDINGS OF FACT

         1. Minn Stat. § 256.87, subd. 8 prohibits the public authority from disclosing to the other
party the location of a participant with a protective order or safety concerns.

        2.    The Petitioner / Lachaela Myretta Brown has alleged safety concerns and requests that
their address not be accessible to the public and the other party.

        3.    The other party does not object to entry of this order.

        4.    The court finds the request to protect the address to be appropriate because the risk of
harm outweighs the presumption of accessibility under the standards established in Minneapolis
Star & Tribune Co. v. Schumacher, 392 N.W. 2d 197, 204 (Minn. 1986).

        Based upon the foregoing Findings of Fact, the undersigned makes the following:



Order Granting or Denying Confidential Address Request
C,SX 107   State         ENG      Rev. 4/20    www.mncourts.gov/forms                    Page 1 of 2   •
                      Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 8 of 38
                                                                                                               State of Minnes
                                                                                                               7/16/2020 8:47 )




                                                           ORDER

                  1. The current address, and any future address, of the Petitioner shall be confidential on
     this court case until further order of the court. This order does not apply to any other court case or
     action.

                  2. As long as the Petitioner's address remains confidential on this court case and the
     public authority continues to provide IV-D child support services in this case, should the other
     party wish to bring a motion or respond to a motion in this case, this order shall eliminate the need
     for them to obtain an Order Granting Service under Minn Stat. § 518A.47, subd. 2. If the
     requesting party provides the public authority with a copy of the moving papers and this order, the
     public authority shall serve the child support documents on the party with the confidential address
     on their behalf

                 3. Parties have a responsibility under Minn. Gen. R. Prac. 13.01, to provide the court
    with a current address. If the party with the confidential address has a change of address in the
    future, and the public authority continues to provide IV-D child support services, the public
    authority must file with the court and on behalf of the party, the Confidential Address Form to
    update the party's address in this court file. If the party is no longer receiving IV-D child support
    services on this case and desires to keep the new address infoiniation confidential, the party must
    file a motion, the Confidential Address Form, and a copy of this order with the court. No fee shall
    be collected when submitting change of address information only.

                 4.    The Petitioner shall promptly infoim the court when there no longer is a need to keep
    the address confidential on this case.

    IT IS SO ORDERED.



Anderson, Ronelle
Jul 16 2020 8:45 AM

    Child Support Magistrate




   Order Granting or'Denying Confidential Address Request
   CSX107     State         ENG      Rev. 4/20    www.mncourts.gov/forms                       Page 2 of 2
                            Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 9 of 38

(12/2011)                                                    0001605


                        CHILD SUPPORT SERVICES




                     _ •-

       Date: 06/08/2012
       License Number: 057559093
       NCP IRN: 405068909

                              NOTICE OF INTENT TO DENY OR SUSPEND YOUR DRIVER'S LICENSE


       Dear IVAN BROWN:

       Our records indicate that your last child support payment was made on     00/00/0000. However, your total payments
       are sixty (60) or more days past due. In accordance with Georgia Law, 0.C.G.A. §19-11-9.3, the Division of Child
       Support Services (DCSS) is authorized to request denial or suspension of any license, certificate, permit or tag
       registration when the case becomes 60 dayS past duFfor. rallure to comply with an order to pay child support.

       If you believe our records are incortect and wish to avoid further action, contact this office immediately for a review
       of your case. YOU have twenty 20 days from the date of this Notice to either to pay your delinquency in full or
       execute a written Enforcement Deferral with DCSS. If you fail to respond to this notice or a payment agreement
       cannot be reached you will be referred to the licensing agencies for suspension.

                                                         — HEARING NOTICE

       You have a right to a hearing before an administrative law judge of the Office of State Administrative Hearings. If you
       would like a hearing, you must submit a written request to the return address located on the front of this notice no
       later than twenty (20) days from the date of this Notice. After DCSS receives your request, you will receive a formal
       notice of hearing from the Office of State Administrative Hearings by regular mail. DCSS will suspend actions pending
       the hearing.

       If you have any questions, you may call DCSS at 1-877-423-4746.

       Division of Child Support Services




                                                                                                                     • PRESORTED
                                                                         1605/                  1605                FIRST CLASS MAIL
                                                                                                                    U.S. POSTAGE PAID
                                                                                                                       ATLANTA, GA
        DIVISION OF CHILD SUPPORT SERVICES                                                                          PERMIT NO. 3533
        P.O. BOX 1600
        CARROLLTON, GA 30112-1600




       FORWARD SERVICE REQUESTED

                                                                       1111111111111111111 111111111111111111 11111111111111111111111 II

                                                                       IVAN BROWN
                                                                       P.O. 960219
                                                                       RIVERDALE, GA 30296-0219

            *427010001605*

                        II II II II II
            II II II 11111
                                Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 10 of 38

                                                                                                         8013023000009550


             Ramsey County Child Support And Collections
             121 Seventh Place E, Ste 4500
             St Paul MN 55101
             Telephone; 651-266-3344 Extn:




                                           Notice of Right to Garnish Federal Benefits


1.••••••
stim•••••••11.

     Date. 10/27/2016
   - State Case ID: 001469546601
"=-=

                                                                                                    And
=-The attached Notice of Support Judgment Levy was issued by Ramsey County Child Support
                                               agency,  pursuant  to authority to attach or seize assets
   Collections, MN child support enforcement
                                                                                          666.
=of noncustodial parents in financial institutions in the State of Minnesota, 42 U.S.C.

—                Accordingly, the garnishee is hereby notified that the procedures established under 31 CFR Part
                 212 for identifying and protecting Federal benefits deposited to accounts at financial institutions
                 do not apply to this Notice of Support Judgment Levy.

                 The garnishee should comply with the terms of this Notice of Support Judgment Levy, including
                 instructions for withholding and retaining any funds deposited to any account(s) covered by this
                 Notice of Support Judgment Levy, pending further order of Ramsey County Child Support And
                 Collections, MN child support enforcement agency.



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                                                                   ')01(\i'l-40r)                          v
                                                                                                      c9 yu),
                    /Jr\_




                                                           (AT                             ,s
                 Doc ID: 123CS1110002997                                                       (FMIN0001 F5101.007)
                                                                  -5-
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          esota Statues 518,518aand 552

• These laws conflict with federal law in title 38 U.SC. 5301(A)(1) and rest if title 38.
• Supremacy Clause

• Article VI, Paragraph 2 of the U.S. Constitution is commonly
  referred to as the Supremacy Clause. It establishes that the
  federal constitution, and federal law generally, take precedence
  over state laws, and even state constitutions. It pronibits states
  from interfering with the federal government's exercise of its
  constitutional powers, and from assuming any functions that are
  exclusively entrusted to the federal government. It does not,
  however, allow the federal government to review or veto state
  laws before they take effect.


h(\                    5 s          pA A.            i'BP-1 3 1
              Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 12 of 38




          esota Statues

• Minnesota child support law gives the right to count disabled vets
  benefit as income.
• Minnesota law allows levies from disabled veterans bank
  accounts(title 38-5301 U.S.C.)
G   I have been a victim of laws geared to cause veterans harm. I have
    suffered from laws that were not for the good of both parties. The
    laws and lies are all on paper.
             Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 13 of 38




                                     •   U.S.C. Title 38-5301(a)(1)
1.   § 5301. Non-assignability and exempt status of benefits (a) (1) Payments of benefits due or to
     become due under any law administered by the Secretary shall not be assignable except to the
     extent specifically authorized by law, and such payments made to, or on account of, a beneficiary
     shall be exempt from taxation, shall be exempt from the claim of creditors, and shall not be liable
     to attachment, levy, or seizure by or under any legal or equitable process whatever, either before
     or after receipt by the beneficiary...
2.   VA apportionment Established 2011 (retro payment of 3800) : IRS was never notified of
     payments sent this was a form fraud (from VA benefit from my payments not a gift)
3.   The Credit reporting agency were never notified of payments sent and received , the Child
     Support of Ramsey county knew full well that is was being paid.
4.   I was sent to a local court Clayton county Georgia         April 22,2012 and received judgment
     1/23/2013
5.   My drivers license was suspended in two states. After knowledge of the apportionment (by
     Minnesota child support Ramsey County)
6.   Ramsey County was contacted April 22nd 2014 about the $200.00 per month apportionment and
     again on August 20th 2015 $1,087.20 was requested.
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1. Georgia courts were made incompetent by ignoring the orders
   made and sent to Ramsey County.
2.   Double Jeopardy happened when I am being tried again for a case
     that was decided 1/23/2013J the 5th Amendment)
3.   In that case all my balances where placed at $000.00 dollars (GA)
4. The statement was made on Zoom that the courts not make a
   judgement, but they did. I am still under those courts orders and
   again Double Jeopardy.
5.   My bank account was levied on 10/27/2016 with a unsigned
     document.(Nicole Jauquet)
6. 42 U.S.C. 666. was stated as a Minnesota law but its federal and
   requires use a federal agency to garnish federal money (law will be
   included)sec 419
             Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 15 of 38
                                                                                 80106024084661 10


121 SEVENTH PLACE E, STE 4500
ST PAUL MN 55101




                                                         IVAN BROWN
                                                         131 DOGWOOD LN
                                                         WOODBURY GA 30293-2952




                                       DO NOT SEND CASH

          Total Due              Minimum. Due               Due Date              Bill Date

            82654.60                    626.00              Mar 2019              03/01/19
                                            . •

                                         State Billing Message
                                                                                  payment options;
      filing statements are not issued when support is withheld from your pay

       ._fanilies/srvices/chi1d_SuPPottJProams -services/payments .jsp Click
       aking..• paymentsll
                  ..,               657-3512•.• •• 651-431-4340, TTY. •callers
        •
     ial 711 for the Minnesota Relay or use their preferred relay service.
     ress 3 for payment options. Contact your child support worker for cash
         nen(40.00p*No:40404i):01,y1.00.00:tol
                                      .....        -c::




                                                                                       agencies.
      Important: We may refer account activity on delinquent cases to credit reporting
                                   (Return stub with your remittance)


Return and Pay to                                   Payor
MN CHILD SUPPORT PAYMENT CTR                        IVAN BROWN
PO BOX 64326                                        131 DOGWOOD LN
ST PAUL MN 55164-0326                               WOODBURY GA 30293-2952


                                  MinimumDue                 Due Date              Bill Date
           Total Due
             82654.60                    626.00              Mar 2019              03/01/19




                                                                                 (PWQQ50 Natural Script)
MCI:0014695464
                                                   -1-
                         Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 16 of 38
                                                                            8012748509075110


                             4500
    121 SEVENTH PLACE E, STE
    ST PAUL MN 55101




                                                                           IVAN BROWN
                                                                           269 REAVES RD
                                                                           WOODBURY GA 30293-3397




                                                        DO NOT SEND CASH
                                                                                       -------
                                                                                  Pue Date               Bill Date
                      Total Due                     ininium Due
                                                                                  Oct.2017               1(701/17
                         68481.68                        604.00 .

                                                   State Billing Message
                                                                     or 651-43 1-4340. flY callers
        -For payment information, call 1800657-3512 ,preferred ielay service.
                                                         use their
        may dial 711 for the Minnesota Relay or
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         To make a payment online or to
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-    Return and Pay to                                                    IVAN BROWN
                              CTR
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     PO BOX 64326                                                         WOODBURY GA 30293- 3397
     ST PAUL MN 55164-0326

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                        Total Due                      mimuniDue
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           Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 17 of 38 8790 0
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                     STE 4500
121 SEVENTH PLACE E,
ST PAUL MN 55101




                                                      IVAN BROWN
                                                      269 REAVES RD
                                                      WOODBURY GA 30293- 3397




                                       DO NOT SEND CASH

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                                         State Billing Message




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                                                      Payor
 Return and Pay to                                    IVAN BROWN
                          CTR
 MN CHILD SUPPORT PAYMENT                             269 REAVES RD
 PO BOX 64326                                         WOODBURY GA 30293-3397
 ST PAUL MN 55164-0326

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                  Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 18 of 38
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    121 SEVENTH PLACE E, STE 4500
    ST PAUL MN 55101




                                                                 IVAN BROWN
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           Important: We may refer account activity on delinquent cases to credit reporting agencies.

                                              (Return stub with your remittance)


    Ram) and 13,, lc,           CTR                            IVAN BROWN
-   -TIN —CHILD SUPPORT PAYMENT                                269 REAVES RD
     PO BOX 64326                                              WOODBURY GA 30293-3397
     ST PAUL MN 55164-0326

                                                                        Due Date              Bill Date
                 Total Due
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                   75453.51




                                                                                             (PWQQ50 Natural Script)
     MCI:0014695464
                           Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 19 of 38

                              r)IVISION OF CHILD SUPPORT SERVICES
                              DISTRICT ATTORNEYS OFFICE
                              H R BANKE JUSTICE CENTER
                              9154 TrARA BLVD., RM 3CS01
                              JONESBORO, GA 30236-4912
                              Telephone: 1-877-423-4746 (DCSS Contact Center - Toll Free)
      Georgia Dcpariment
                              Fate (770) 477-4560
       of Human Services

                                                                                                                         DATE: 01/17/2013
    IVAN BROWN
    P.O. 960219
    RIVERDALE, GA 30296-



   RE: LACHAELA MYRETTA BROWN
   CASE NO.: 360023312

Dear Mr(s) BROWN:'
  [] Your case has been closed for current support.
          [ ] You are no longer required to pay current support payments to the custodian. However, you are in arrears in the amount of $,
               including/excluding interest, because of your earlier failure to pay all that was due. You must continue to pay the amount of
               $0.00 per until these arrears are paid in full. Your child support payments remain subject to the Income Deduction Order and
               must continue to be deducted and sent to the Family Support Registry pursuant to 0,C.G.A.
               §19-6-33,1, unless the custodian's legal representative obtains a new Income Deduction Order directing otherwise.
         [ ] You are no longer required to pay current support payments to the custodian. However, you are in arrears in the amount of $,
               including/excluding interest, because of your earlier failure to pay all that was due. You must continue to pay the amount of
               $0.00 per until these arrears are paid in full. Your child upport payments are not subject to an Income Deduction Order at this
               time. Your employer must continue to send payments towards your arrears to the Family Support Registry based on your
              Income Deduction Order until they are paid in full.
 [x] Your case has been closed.
         [ ] Payments of all arrears and interest, if applicable, have been satisfied. Your case has been closed. No further payments are
              due. If your child support payments were subject to an Income Deduction Order, your employer has been notified to stop
              deductions from your paycheck.
         [ ] Child support payments received by you from           / /         to   / /         are being returned. We are unable to locate the
              custodial parent. This does not relieve you from your court-ordered obligation to provide support for your children.
        [ ] The custodial parent requested that the case be closed. You remain under an order to pay child support. Begin paying the
              custodial parent directly immediately retaining a copy for your records.
        [ ] The Custodial Parent has provided supporting evidence that opening this case is not in the best interest of the child.
       Child(ren)on this case is/are over 18 years old or otherwise emancipated.
        [] Payments of all arrears and interest, if applicable, have been satisfied. The child support case with our agency has been closed
              for collection and enforcement. If your emancipated child(ren) on this case are covered under a medical insurance plan and are
              still enrolled in secondary school full-time, you may choose to keep the child(ren) covered or to discontinue such coverage. If
              your arrears payments were being paid by an Income Deduction Order, your employer has been notified to stop deductions from
              your paycheck.
        [ ] You are in arrears in the amount of $, including/excluding interest, because of your earlier failure to pay all that was due. You
             must continue to pay the amount of $0,00 per until these arrears are paid in full.
        [ ] There are additional minor children on this support order. The following block checked applies to this case.
                [ ] Your court-ordered current support amount has been changed. Your new current support is 0.00 per . If your minor
                     children are covered under a medical insurance plan, you must continue that coverage.
        [ ] Your court-ordered current support remains the same.
      This case will remain open until all administrative fees owed on the case are paid in full. Our records show there is an outstanding
      fee balance of $                  , (see attached letter).

     Thank you for your cooperation. If you have any questions, please call the DCSS Contact Center at 1-877-423-4746.

     Sincerely,
     DIVISION OF CHILD SUPPORT SERVICES



    Revised 4/1/2012                                                                                                        Form MAC
                   Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 20 of 38



                                                      REGISTRATION STATEMENT



                              Responding IV-D Case Identifier
                              Responding Tribunal Number

                              Initiating IV-D Case Identifier 001469546601
                              Initiating Tribunal Number

                                       ACtion:         6egister for Enforcement
                                                     (i,
                                                     ( ) Register for Modification

 I. Case' Summary      (Background of this Matter: Court / Administrative Actions)

 Date of Support Order              State & County Issuing Order               Tribunal Case Number

 02/07/2011                         MINNESOTA / RAMSEY                         62-FA-10-284

 Support Amount/             Date of Last         Amount of      Period Computation
 Frequency                   Payment              Arrears
 $859.00 / MONTH              No                $ ILietc),,,;-   07/01/2010 thru 01/31/2012

 ( ) Tribunal Has Determined This to Be Controlling Order                    (i,KOnly Order



III. Mother Information      ( ) Obligor    (X) Obligee
Full Name (First, Middle, Last) Address(city, Street, Zip)                  Employer/Address (Name, Street, City, Zip)
Lachaela M Brown                  1105 County Road D E
                                  Saint Paul
                                  MN 55109-5257
Maiden Name, Alias, Former Married Name, Nickname, etc.


Home Phone (612) 516-8630 (X) Address Confirmed 12/16/2008
Work Phone    ( ) Employer ConfiLmed
Date/Place of Birth 07/22/1968                      Social Security Number XXX-XX-XXXX

 IV. Father Information                (X) Obligor , ( ) Obligee
Full Naltte (First, Middle, Last)        Address(city,street,zip)           Employer/Address (NaMe, Street, City, Zip)
Ivan Brown                                 6997 Cheswick Dr
                                           Riverdale
                                           GA 30296-2260
Alias, Nickname, etc.


Home Phone (210) 858-9069 (X) Address Confi med 11/09/2011
Work Phone    ( ) Employer ConfiLmed
Date/Place of Birth 03/19/1967 Los Angeles, CA      Social Security Number XXX-XX-XXXX




Doc ID: 123C51650006070                                           (FMIN0001 F0209.009)
OMB 0970-0085                               -1-             Expiration Date 05-31-2014
        Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 21 of 38



                               DEPARTMENT OF VETERANS AFFAIRS




August 20, 2015


RAMSEY COUNTY CHILD SUPPORT AND COLLECTIONS                               In reply, refer to:
121 SEVENTH PLACE E, STE 4500                                             316/Core 7/111
ST PAUL MN 55101                                                          File Number: 573 51 1960
                                                                          Ivan Brown
                                                                          DOB: March 19, 1967
                                                                          SSN: XXX-XX-XXXX

                                  IMPORTANT -- reply needed


On April 22, 2014, VA received your request for garnishment of the veteran's disability
compensation in the amount of $1,087.20. We are currently apportioning the veteran's disability
payment benefits in the amount of $200.00 monthly in support of his child, Navi Brown.

Under Public Law 95-30, a Veteran's disability compensation may be garnished in order to pay
alimony or child support pursuant to a court order only if the Veteran receives disability
compensation in lieu of an equal amount of military retired pay, in accordance with a total or partial
military retired pay waiver.

If we receive a request for an increased apportionment from the beneficiary, we will consider the
request. We will also consider a garnishment order authorized by a court order. Any court
ordered garnishment order should be forwarded to the appropriate address listed on the attached
Where to Send Your Written Correspondence.

We will take no further action on this request,

How Can You Contact Us?

If you are looking for general infonnation about benefits and eligibility, you should visit our web
site at http://www.va.gov. Otherwise, you can contact us in several ways. Please give us your
VA file number, 573 51 1960, when you do contact us.

   •    Call us at 1-800-827-1000. If you use a Telecommunications Device for the Deaf (TDD),
        the number is 1-800-829-4833.
    O   Send us an inquiry using the Internet at hltps://iris.va.gov.

You can also send what we need to the appropriate address listed on the attached Where to Send
Your Written Correspondence chart.
                                      Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 22 of 38

                                                                                                              80130230000092 50


                                                                                               DISTRICT COURT
                    STATE OF MINNESOTA
                                                                                               COURT FILE 62-FA-10-284
                    COUNTY OF Ramsey

                    Vs,

                    Ivan Brown
                    and
                    Bank Of America Na



                                    Notice of Support Judgment Levy and Disclosure
              1..ZSOB
inIXV1




••••M


                                                                        Chapters 518, 518A and 552, the
        PLEASE TAKE NOTICE that pursuant to Minnesota Statutes,
         4,

—                                                                      child support enforcement, makes
=---undersigned, as representative of public authority responsible for
                                                                  by you to the judgment debtor for the amount
_demand and levies execution upon all money due and owing
---=
                                                            of support judgment levy is enclosed, The unpaid
- =-- of the judgment specified below. A copy of the notice
=judgment balance is $72,279,61,
                                                                                        disclosure form and mail it to the public
 —                         In responding to this levy, you are to complete the attached
                                                                                              for the nonexempt amount owed by
                        authority, together with your check payable to the public authority,
                                                                                       the judgment debtor, within the time limits
                        you to the judgment debtor or for which you are obligated to
                        in Chapter 552,
                                                              Nicole Jauquet
                                                              121 Seventh Place E, Ste 4500
                                                              St Paul MN 55101
                                                              Telephone: 651-266-3257




                                                                                                             (FMIN0001 F5101.007)
                         Doc ID: 123CS1110002997
                                                                             -2-
              Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 23 of 38
                                                                                                           Page 1 of 1




                                                         GEORGIA DEPARTMENT
                                                          OF DRIVER SERVICES


                                                 STATE OF GEORGIA
                                    DEPARTMENT OF DRIVER SERVICES
                                               CSC NAME : THOMASTON
                                         SUSPENSION DETAIL REPORT
                                                 SUSPENSION 1 OF 1


BROWN, IVAN                                                                                    LICENSE NUM: 057559093


YOUR LICENSE IS SUSPENDED DUE TO LICENSE CANCELLATION


COURT/AGENCY INFORMATION:
EFFECTIVE: 2/3/2016                                                                       REINSTATE ELIGIBLE: 2/3/2016
AGENCY: MINNESOTA SAFETY DRIVER
SAINT PAUL, MN                                                                               CITATION #: B650347001207
PHONE: 651-297-5031
VIOLATION: 1/13/2016
                                                                                                 PROCESSED: 1/13/2016




 To avoid cancellation you must complete the following requirements before 02/03/2016:
 1. The state of MN has reported that there is a problem with your driving privilege in that state. You must contact
 MINNESOTA SAFETY DRIVER to clear the problem. The phone number is 651-297-5031. When resolved,
 contact DDS for verification.

 No permit is available for this withdrawal.

 To resolve this cancellation you must do the following:
 1.The state of MN has reported that there is a problem with your driving privilege in that state. You must contact
 MINNESOTA SAFETY DRIVER to clear the problem. The phone number is 651-297-5031. When resolved,
 contact DDS for verification.
 2. Wait the required time. You are eligible to reinstate 02/03/2016. REQUIREMENT MET.

 This information is valid as of 01/13/2017 11:44. It may change depending on updates applied to your driver
 records. For more information regarding your account, please visit our web site at (VVWVV.DDS.GA.GOV).
         Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 24 of 38
                                                                                                  State of Minnes
                                                                                                  7/16/2020 9:061




STATE OF MINNESOTA                                                     DISTRICT COURT
COUNTY OF RAMSEY                                              SECOND JUDICIAL DISTRICT
                                                               CASE TYPE - DISSOLUTION

In Re the Maniage of:


Lachelle Myretta Brown,
                                                         FINDINGS OF FACT,
               Petitioner,                         CONCLUSIONS OF LAW, AND ORDER
and                                                   MODIFYING CHILD SUPPORT

Ivan Brown,                                                Court File No. 62-FA-10-284
                                                          IV-D Case No. 0014695466-01
               Respondent,
and

Ramsey County,
              Intervenor.
Definitions: The County means Ramsey County. The State means the State of Minnesota. The
Petitioner means Lachelle Myretta Brown and the Respondent means Ivan Brown.
       The above-entitled matter came on for hearing before Ronelle Anderson, presiding Child
Support Magistrate, at Ramsey County on June 18, 2020 pursuant to the County's motion for
modification. The record closed on July 2, 2020.
       The Petitioner was present and Was not represented by counsel. The Petitioner's mailing
address is confidential.
        The Respondent was present and was not represented by counsel. The Respondent's
mailing address is 131 Dogwood Ln Woodbury GA 30293.
       Sara Lauthen, Assistant County Attorney, appeared on behalf of Ramsey County. Janelle
Kirchner, Child Support Officer, was also present.
       The hearing was conducted by Zoom due to the pandemic restrictions currently in place.
         The Child Support Magistrate, upon reviewing the files, affidavits and proceedings herein,
and upon hearing the testimony of the parties presented, and being fully advised, does hereby make
the following:
                                 STATEMENT OF THE ISSUE

       The issue in this case is whether the amount of child support should be modified under
Minn. Stat. § 518A.39, subd. 2 and, if so, what amount of support is appropriate.
         Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 25 of 38
                                                                                                    State of Minnes
                                                                                                    7/16/2020 9:06




                                     FINDINGS OF FACT

       1. The Petitioner previously received public assistance from the state for the minor child
and currently receives non-public assistance child support services.
        2. The County's motion to modify child support was served by mail on April 2, 2020.
        3. The Respondent and the Petitioner are the parents of the following joint child who
reside(s) with the Petitioner: Navi Brown, born January 23, 2004. There is no order for parenting
time.
        4. The Respondent's birth date is March 19, 1967. The Petitioner's birth date is July 22,
1968.
       5. The social security numbers of the Respondent, Petitioner, and the joint child are
incorporated as stated on Confidential Form 11.1 on file with the Court.
        6. In the prior order dated February 7, 2011 the Respondent was ordered to pay basic
support of $550 per month. With cost of living increases support is now $626 per month. The
Respondent's arrears are substantial. Support charging is the basic support plus 20% towards
arrears.

        7. At the time of the prior order the Respondent's gross monthly income was $3072 and
the Petitioner's gross monthly income was $1255.

        8. The Respondent receives VA benefits of $3352 per month including the child's separate
apportionment is $200 per month.

        9. The Respondent did make arrangements with the VA to send the Petitioner the child's
benefits, and the Petitioner-and the County acknowledge payment of direct benefits for 107 months,
or $21,400.
        10. The record was held open so the Respondent could make a written record as to why he
does not believe he owes anything beyond the child's benefit. The Respondent points to Title 38
Veterans benefits, section 5301 nonassigrrability and exempt status of benefits. The Respondent is
correct that the State' cannot garnish child support from his veteran's benefits.
        11. The Respondent also maintains that the VA decided the apportionment based upon the
court orders from 2011. The Court interprets this to mean the VA concluded there was a legal
obligation based upon the Court's order.
       12. The Respondent points to the Federal Office of Child Support Enforcement. He is
correct the IVD program is in fact a federal program, which is administered in each State in
accordance with each's states law.
        13. Minnesota did attempt to register the order in the State of Georgia for enforcement in
2012.
       14. The Respondent provided a letter date January 17, 2013 from the Division of Child
Support Services Jonesboro GA, stating that the case had been closed, as well as an State of '-
Georgia order from January 2013 that states no hearing is required based upon the initiating


                                                2
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                                                                                                        State of Minnes
                                                                                                        7/16/2020 9:06,




jurisdiction closing their case. The Respondent maintains this concludes he has no arrears. The
Child Support Officer testified that Minnesota did not ask for the case to close with Georgia, rather
Georgia closed the case on its own initiative.
        15. The Respondent maintains that Minnesota Law conflicts with the Federal Law, and that
the federal law, in accordance with the Supremacy Clause, takes precedent. That Minnesota Law
is geared towards being detrimental to disabled veterans.
        16. The Respondent in his oral presentation raised the issue that Rose, prohibits the court
from ordering support beyond the appointment. The County in its responsive written argument cites
Rose, 481 U.S. 619 (1987), specifically pointing to the language, "Congress would surely have been
more explicit had it intended the Administrator of Veteran Affairs apportionment power to displace
a state Court's power to enforce an order of child support" Veteran's benefits are to not only
support the veteran, but the veteran's family as well.
       17. The issue or whether military benefits can be considered as income for child support
purposes in Minnesota, has been addressed by the higher court in Minnesota, in Sward, 410 N. S. 2d
442 (Minn Ct. App. 1987).
       18. The Minnesota Court of Appeals also recently revisited the issue, and an unpublished
ordered issued in Cusick v Cusick, 2020 WL 1242964 (Minn St. App.2020) filed March 16, 2020.
       19. Minnesota statutes support that VA benefits are considered income for child support
purposes. Minn. Stat section 518A.29(a); Minn Stat. section 518 A.31.
        20. The Petitioner is not employed full time. The Petitioner has the ability to earn $10 per
hour based on her employment history / education / job skill. This considers the availability of jobs
within the community for an individual with the Petitioner's qualifications.
       21. The Respondent's parental income for determining child support (PICS) is $3352.
       22. The Respondent's monthly living expenses are unknown.
       23. The Petitioner's parental income for determining child support (PICS) is $1732.
       24. The Petitioner's monthly living expenses are $700.
        25. The combined parental income for determining child support (PICS) is $5084. Pursuant
to Minn Stat. § 518A.35, the combined basic support obligation for one child is $831.This is the
parents shared cost to raise their child.
       26. Based upon the combined parental incomes for determining child support (PICS), the
Respondent's percentage share of the PICS is 66 % and the Petitioner's percentage share of the
PICS is 34 %.
        27. Pursuant to the Minnesota Child Support Guidelines, the Respondent's basic support
obligation is $584 per month, after offsetting the apportionment benefit of $200, child support would
be $384 per month.
       28. Medical and dental in insurance coverage for the child is as follows:
             The joint child is currently enrolled in health care coverage provided by the
             Respondent through the VA.


                                                 3
           Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 27 of 38
                                                                                                     State of Minnes
                                                                                                     7/16/2020 9:06,




       29. There has been a substantial change in circumstances that renders the existing child
support order unreasonable and unfair.
        Based upon the foregoing Findings of Fact, the Child Support Magistrate makes the
following:

                                     CONCLUSIONS OF LAW
         1. All proceedings establishing, modifying, or enforcing child support must be conducted in
the expedited child support process if the case is a IV-D case. The application for and receipt of
public assistance as defined in Minn Stat. § 256.741, as well as the application for non-public
assistance child support services under title IV-D of the Social Security Act, United States Code,
title 42, section 654(4), creates a IV-D case pursuant to Minn Stat. § 518A.26, subd. 10. The
case continues to be a IV-D case until the applicant notifies the public authority in writing that the
applicant no longer requests continued IV-D services pursuant to 45 CFR           § 302.33.
       2. The Child Support Magistrate has jurisdiction in this matter pursuant to Minn Stat.       §
484.702, subds. 1 and 3 and Minn Gen. R. Frac. 353.01.
       Based upon the foregoing Findings of Fact and Conclusions of Law, the Child Support
Magistrate makes the following:
                                               ORDER

       1. The motion is GRANTED.
                                     BASIC CHILD SUPPORT
       2. Beginning May 1, 2020 and continuing each month thereafter:
            •   the Respondent shall pay $384 per month as ongoing basic child support.
                                     CHILD CARE SUPPORT
            •   the Respondent's child care obligation is reserved until further order.
                                       MEDICAL SUPPORT
            •   the Petitioner shall pay $0 per month to the Respondent for the Petitioner's portion
                of medical support premiums
       3. Health care coverage is ordered as follows:
            •   The Respondent shall continue to maintain health care coverage for the joint child,
       •        which does not include dental coverage for the joint child.
            •   The Respondent shall be liable for 66 % and the Petitioner shall be liable for 34% of
                the joint child's uninsured medical and/or dental expenses.
            •   A party seeking reimbursement for medical and dental expenses must request
                reimbursement no later than two years from the date the expenses were incurred
                pursuant to Mimi Stat. § 518A.41, subd. 17(b).




                                                   4
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                                                                                                     State of Minnes
                                                                                                     7/16/2020 9:06 ,




                                       OTHER PROVISIONS

       4. The County shall credit the Respondent's arrears for the 107 months of
direct payments of $200 per month by the VA to the Petitioner for the child's
apportionment benefit.
        5. All other provisions of the prior order remain in full force and effect.
      6. This order does not modify orders or decrees issued from another state or from other
Minnesota counties.
        7. All payments ordered shall be immediately withheld by the Respondent's present and
future employer(s) or other payor(s) of funds in accordance with Minn. Stat. § 518A.53.
        8. If support payments are not paid when due, the Respondent's employer(s) or payor(s) of
funds shall withhold from the Respondent's income, an additional amount of 20% of the monthly
child support until the arrearage is paid in accordance with Minn Stat. § 518A.53, subd. 10.
      9. Until income withholding takes effect, all payments should be made payable to
Minnesota Child Support Payment Center and sent to:
                             Minnesota Child Support Payment Center
                                         PO Box 64326
                                    St. Paul, MN 55164-0326
                                               or
       Payments can be made to CSPC online using www.childsupport.dhs.state.mn.us
       10. The attached Appendix A is incorporated and made a part of this order.
        11. The parties shall notify the Child Support Office and the Court Administrator's Office
within 10 days of any change in their mailing address.
      12. A copy of this order shall be served by first class U.S. mail upon the parties at their last
known addresses, or upon their attorneys, which shall be due and proper service for all purposes.
       IT IS SO ORDERED.

                                                 Anderson, Ronelle
                                                 Jul 16 2020 9:05 AM

                                                     RONELLE ANDERSON
                                                     Child Support Magistrate #93315E
                      Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 29 of 38
                                                                                                            State of Minnes
                                                                                                            7/16/2020 9:06 ,


                        Child Support Guidelines Worksheet

parent A: Ivan                        IV-D Case Number:                       Number of Joint Children: 1
 arent B: Lachaela                    Court File Number:                      Date: 7/16/2020

                                                                         Parent A Parent B Combined
Income                    1a. Monthly Income Received                    $3152      $1732     ----
                          1b. Child(ren)'s Social SecurityNeterans'      $200       $0        ----
                          Benefits Derived From a Parent's Eligibility
                          1c.Potential Income                            $0         $0
                          1d.Spousal Maintenance Orders Obligated $0                $0
                          to be Paid
                          le. Child Support Order(s) Obligated to be     $0         $0        ----
                          Paid for Nonjoint Child(ren)
                          1f. Monthly Gross Income (1a+1b+1c-1d-         $3352      $1732     ----
                          1e)
Adjustments               2a. Number of Nonjoint Child(ren) in the       0          o         ----
                          Home (Maximum number allowed is 2)
                          2b. Deduction for Nonjoint Child(ren) in the $0           $0        ----
                          Home
                          3. Parental Income for Determining Child       $3352      $1732     $5084
                          Support (PICS)
                          4. Percentage Share of Combined PICS           66%        34%       ----
                          5. Combined Basic Support Obligation                      ----      $831
                          6. Pro Rata Basic Support Obligation           $548       $283      ----
Basic Child Support       7. Basic Support Obligation After Parenting $548                    ----
Obligation                Expense Adjustment (if applicable)
Child Care Obligation     8. Child Care Support Obligation for Joint                          ----
                          Child(ren)
Medical Support           9a. Monthly Cost of Health Care Coverage       $0         $0        ----
Obligation                for Joint Child(ren)
                          9b. Pro Rata Share of Health Care              $0         $0        ----
                          Coverage Costs
Appropriate Coverage      9c. Contribution to Health Care Coverage
Available
                          9d. Monthly Cost of Dental Coverage for        $0         $0        ----
                          Joint Child(ren)
                          9e. Pro Rata Share of Dental Coverage          $0         $0        ----
                          Costs
                          9f. Contribution to Dental Coverage                                 ----
                          9g. Medical Support Obligation-Appropriate                          ----
                          Coverage Available
No Appropriate            10. Medical Support Obligation for Public
Insurance Available       Coverage                     .
jninsured/Unreimbursed 11. Share of Uninsured and/or                     66%        34%
                      Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 30 of 38
                                                                                                              State of Minnes
Expenses                                                                                                      7/16/2020 9:06 ,
                              Unreimbursed Medical Expenses
                              12. Net Child Support Obligation             $548        $0       ----
Benefits Adjustment           13. Child(ren)'s Social Security/Veterans'   $200                 ----
                              Benefits Derived from Parent's Eligibility
Computing a Final             14. Total Child Support Obligation           $348        $0       ----
Obligation
                              15a. Monthly Gross Income                    $3352       $1732    ----
Ability to Pay Calculation 15b. Income Available for Support               $2076       $456     ----
                              16. Monthly Child Support Obligation - No    $348        $0       ----
                              Adjustment Necessary
                              17.Amount of Reduction                       $0          $0       ----
Child Support Obligation 18. Medical Support
Adjustment
                             Original Obligation                                                ----
                                  Amount of Reduction                                           ----
                                  New Obligation                                                ----


                              19. Child Care Support
                                  Original Obligation                                           ----
                                 Amount of Reduction                                            ----
                                 New Obligation                                                 ----


                              20. Basic Support
                                 Original Obligation                                            ----
                                 Amount of Reduction                                            ----
                                 New Obligation                                                 ----


                              21. Monthly Child Support Obligation After                        ----
                              Adjustment
Presumptive Minimum           22a. Presumptive Minimum Order for 1,or 2                         ----
Order/Basic Support           Joint Children
Only
                              22b. Presumptive Minimum Order for 3 or 4                         ----
                              Joint Children
                              22c. Presumptive Minimum Order for 5 or                           ----
                              More Joint Children


                     Parenting Expense Adjustment Supplement

 arent A: Ivan                            IV-D Case Number:                     Number of Joint Children: 1
parent B: Lachaela                        Court File Number:                    Date: 7/16/2020

                                                                           Parent A Parent B Combined
1.Number of Annual Overnights for joint child(ren)                         0          365
2. Percentage of Parenting Time                                            0%         100%      ----
3. Basic Support Obligation                                                $548       $283      $831
                      Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 31 of 38
                                                                                                          State of Minnes
                                                                                                          7/16/2020 9:06,
4a. Percentage of Adjustment for Parenting Time between 10% and
45%,
4b. Amount of Adjustment for Parenting Time
4c. Obligation after Parenting Expense Adjustment
5a. Percentage of Parenting Time is at Least 45.1% for Both Parents
5b. Each Parent's Percentage Share of Combined PICS
5c. Each Parent's Pro Rata Basic Child Support Obligation
5d. Obligation After Parenting Expense Adjustment
6a. Obligation after Parenting Expense Adjustment Based on the           $548               ----
Number of Annual Overnights
6b. Greater than 55% Parenting Time Adjustment                                              ----


                     Child Care Support Obligation Supplement

'arent A: Ivan                                                              Number of Joint Children: 1
'arent B: Lachaela

                                                                                    Parent A Parent B
1. PICS                                                                             $3352     $1732
2a. Monthly Cost of Child Care for Joint Child(ren)                                 $0        $0
2b. Number of Child(ren) Receiving Child Care
2c. Cost of Child Care to be Applied to Tax Tables
3. Federal Child Care Credit Percentage
4. Estimated Monthly Federal Child Care Credit
5. Minnesota Child Care Maximum Allowable Credit
                                                                                                      ,
6. Estimated Monthly Minnesota Child Care Credit
7. Total Estimated Tax Credits
8. Net Child Care Cost
9. Percentage Share of Combined PICS                                                66%       34%
10. Pro Rata Share of Net Child Care Cost
11. Child Care Support Obligation if any Joint Child is Covered by Child Care
Assistance and Parent A Meets Income Limits for Child Care Assistance


                                  Child Support Summary

'arent A: Ivan                                                              Number of Joint Children: 1
'arent B: Lachaela                                                          Date: 7/16/2020

                                                                                    Parent A Parent B
Basic Support Obligation Amount                                                     $0        $0
Child Care Support Obligation Amount                                                $d        $0
Medical Support Obligation Amount                                                   $0
                       Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 32 of 38
                                                                                                                            State of Minnes
                                                                                                                            7/16/2020 9:06
Child Support Obligation Total Amount                                                         $348       $0

Share of Uninsured and/or Unreimbursed Medical Expenses                                       66%        34%

Notes:

  Obligations adjusted based on Joint Child(ren)'s Social SecurityNeterans' Benefits Derived from
Parent's Eligibility.


Disclaimer: The child support guidelines worksheet, instructions, and calculator are for information and educational
use only and are not a guarantee of the amount of child support that will be ordered. The results obtained are only as
accurate as the information used. The actual child support order may be affected by other factors. The Court has the
final authority to determine the amount of the child support order. If this worksheet is attached to a court order, it is
part of the Court's decision. This worksheet may or may not show the amount the Court decided to order. If the
amount in the order is different, that is the amount to be paid.

              Calculated by the Minnesota Child Support Guidelines Calculator on 7/16/2020 at 8:29 AM
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                                                                                                                       State of Minnes
                                                                                                                       7/16/2020 9:06,
                                                      APPENDIX A

NOTICE IS HEREBY GIVEN TO THE PARTIES:
         I. PAYMENTS TO PUBLIC AGENCY. According to Minnesota Statutes, section 518A.50, payments ordered
for maintenance and support must be paid to the Minnesota child support payment center as long as the person entitled to
receive the payments is receiving or has applied for public assistance or has applied for support and maintenance collection
services. Parents mail payments to: P.O. Box 64326, St. Paul, MN 55164-0326. Employers mail payments to: P.O. Box
64,306, St. Paul, MN 55164.

         H. DEPRIVING ANOTHER OF CUSTODIAL OR PARENTAL RIGHTS -- A FELONY. A person may be
charged with a felony who conceals a minor child or takes, obtains, retains, or fails to return a minor child from or to the
child's parent (or person with custodial or parenting time rights), according to Minnesota Statutes, section 609.26. A copy of
that section is available from any court administrator.

         HI NONSUPPORT OF A SPOUSE OR CHILD — CREVIINAL PENALTIES. A person who fails to pay
court-ordered child support or maintenance may be charged with a crime, which may include misdemeanor, gross
misdemeanor, or felony charges, according to Minnesota Statutes, section 609.375. A copy of that section is available from
any district court clerk.

         IV. RULES OF SUPPORT, MAINTENANCE, PARENTING TIME.
A.       Payment of support or spousal maintenance is to be as ordered, and the giving of gifts or making purchases of food,
         clothing, and the like will not fulfill the obligation.
B.       Payment of support must be made as it becomes due, and failure to secure or denial of parenting time is NOT an
         excuse for nonpayment, but the aggrieved party must seek relief through a proper motion filed with the court.
C.       Nonpayment of support is not grounds to deny parenting time. The party entitled to receive support may apply
         for support and collection services, file a contempt motioh, or obtain a judgment as provided in Minnesota
         Statutes, section 548.091.
D.       The payment of support or spousal maintenance takes priority over payment of debts and other obligations.
E.       A party who accepts additional obligations of support does so with the full knowledge of the party's prior obligation
         under this proceeding.
F.       Child support or maintenance is based on annual income, and it is the responsibility of a person with seasonal
         employment to budget income so that payments are made throughout the year as ordered.
G.       A Parental Guide to Making Child-Focused Parenting-Time Decisions is available from any court administrator.
H.       The nonpayment of support may be enforced through the denial of student grants; interception of state and federal
         tax refunds; suspension of driver's, recreational, and occupational licenses; referral to the department of revenue or
         private collection agencies; seizure of assets, including bank accounts and other assets held by financial institutions;
         reporting to credit bureaus; interest charging, income withholding, and contempt proceedings; and other enforcement
         methods allowed by law.
I.       The public authority may suspend or resume collection of the amount allocated for child care expenses if ,the
         conditions of Minnesota Statutes, section 518A.40, subdivision 4, are met.
J.       The public authority may remove or resume a medical support offset if the conditions of section 518A.41,
         subdivision 16, are met.
K.       The public authority may suspend or resume interest charging on child support judgments if the conditions of section
         548.091, subdivision 1 a, are met.

        V. MODIFYING CHILD SUPPORT. If either the obligor or obligee is laid off from employment or receives a
pay reduction, child support may be modified, increased, or decreased. Any modification will only take effect when it is
ordered by the court, and will only relate back to the time that a motion is filed. Either the obligor or obligee may file a
motion to modify child support, and may request the public agency for help. UNTIL A MOTION IS FILED, THE CHILD
SUPPORT OBLIGATION WILL CONTINUE AT THE CURRENT LEVEL. THE COURT IS NOT PERMITTED TO
REDUCE SUPPORT RETROACTIVELY.




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                                                                                                                         State of Minnes
                                                                                                                      ZWoy 9:06 ,
    , VI.    PARENTAL RIGHTS FROM MINNESOTA STATUTES, SECTION 518.17, SUBDIVIS1
UNLESS OTHERWISE PROVIDED BY THE COURT:
A.    Each party has the right of access to, and to receive copies of, school, medical, dental, religious training, police
      reports, and other important records and information about the minor children. Each party has the right of access to
      information regarding health or dental insurance available to the minor children. Presentation of a copy of this order
      to the custodian of a record or other information about the minor children constitutes sufficient authorization for the
      release of the record or information to the requesting party.
B.    Each party has the right to be informed by the other party as to the name and address of the school of attendance of
      the minor children. Each party has the right to be informed by school officials about the children's welfare,
      educational progress and status, and to attend school and parent teacher conferences. The sChool is not required to
      hold a Separate conference for each party.
C.    Each party has the right to be notified by the other party of an accident or serious illness of a minor child, including
      the name of the health care provider and the place of treatment.
D.    Each party has the right to be notified by the other party if the minor child is the victim of an alleged crime,
      including the name of the investigating law enforcement officer or agency. There is no duty to notify if the party to
      be notified is the alleged perpetrator.
E.    Each party has the right of reasonable access and telephone contact with the minor children.

        VII. WAGE AND INCOME DEDUCTION OF SUPPORT AND MAINTENANCE. Child support and / or
spousal maintenance may be withheld from income, with or without notice to the person obligated to pay, when the
conditions of Minnesota Statutes, section 518A.53, have been met. A copy of that section is available from any court
administrator.

         VIII. CHANGE OF ADDRESS OR RESIDENCE. Unless otherwise ordered, each party shall notify the other
party, the court, and the public authority responsible for collection, if applicable, of the following information within ten days
of any change: residential and mailing address, telephone number, driver's license number, social security number, and name,
address, and telephone number of the employer.

        IX COST OF LIVING INCREASE OF SUPPORT AND MAINTENANCE. Basic support and / or spousal
maintenance may be adjusted every two years based upon a change in the cost of living (using the U.S. Department of Labor,
Bureau of Labor Statistics, consumer price index Mpls. St. Paul, for all urban consumers (CPI-U), unless otherwise specified
in this order) when the conditions of Minnesota Statutes, section 518A.75, are met. Cost of living increases are
compounded. A copy of Minnesota Statutes, section 518A.75, and forms necessary to request or contest a cost of living
increase are available from any court administrator.

         X. JUDGMENTS FOR UNPAID SUPPORT; INTEREST. According to Minnesota Statutes, section 548.091:
A.       If a person fails to make a child support payment, the payment owed becomes a judgment against the person
         responsible to make the payment by operation of law on or after the date the payment is due, and the person entitled
         to receive the payment or the public agency may obtain entry, and docketing of the judgment without notice to the
         person responsible to make the payment.
B.       Interest begins accruing on a payment or installment of child support whenever the unpaid amount due is greater
         than the current support due.

        XL JUDGMENTS FOR UNPAID MAINTENANCE. A judgment for unpaid spousal maintenance may be
entered and docketed when the conditions of Minnesota Statutes, section 548.091, are met. A copy of that section is
available from any court administrator.

               ATTORNEY FEES AND COLLECTION COSTS FOR ENFORCEMENT OF CHILD SUPPORT. A
judgment  for  attorney fees and other collection costs incurred in enforcing a child support order will be entered against the
person responsible to pay support when the conditions of Minnesota Statutes, section 518A.735, are met. A copy of that
section and forms necessary to request or contest these attorney fees and collection costs are available from any court
administrator.

        XIII. PARENTING TIME EXPEDITOR PROCESS. On request of either party or on its own motion, the court
may appoint   a parenting time expeditor to resolve parenting time disputes under Minnesota Statutes, section 518.1751. A
copy of that section and a description of the expeditor process is available from any court administrator.

FAM301           State   ENG      Rev 08/15                 www.mncourts.gov/forms                              Page 2 of 3
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                                                                                                                    State of Minnes
                                                                                                                    7/16/2020, 9:06 ,
        XIV. PARENTING TIME REMEDIES AND PENALTIES. Remedies and penalties for wrongful denial ot
parenting time are available under Minnesota Statutes, section 518.175, subdivision 6. These include compensatory
parenting time; civil penalties; bond requirements; contempt; and reversal of custody. A copy of that subdivision and forms
for requesting relief are available from any court administrator.


In addition to the Notices on pages 1 and 2, the following NOTICE applies to all orders addressing custody pursuant
to Minn. Stat. § 518.17, subd. 3a.

                                                       NOTICE
EACH PARTY IS GRANTED THE FOLLOWING RIGHTS:
  1. Right of access to, and to receive copies of, school, medical, dental, religious training, police reports, and other
     important records and information about the minor children.
  2. Right of access to information regarding health or dental insurance available to the minor children.
  3. Right to be informed by the other party as to the name and address of the school of attendance of the minor children.
  4. Right to be informed by school officials about the children's welfare, educational progress and status, and to attend
     school and parent-teacher conferences. The school is not required to hold a separate conference for each party,
     unless attending the same conference would result in violation of a court order prohibiting contact with a party.
  5. Right to be notified by the other party of an accident or serious illness of a minor child, including the name of the
     health care provider and the place of treatment.
  6. Right to be notified by the other party if the minor child is the victim of an alleged crime, including the name of the
     investigating law enforcement officer or agency. There is no duty to notify if the party to be notified is the alleged
     perpetrator.
  7. Right to reasonable access and telephone or other electronic contact with the minor children.




FAM301         State    ENG     Rev 08/15                www.mncourts.gov/forms                            Page 3 of 3
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                                       Oil 1101 1111111111111111 lli 111111101111 1111110 II
                                                             0111111
                                                    DEPARTMENT OF VETERANS AFFAIRS
                                                            Debt Management Center
                                                     Bishop Henry Whipple Federal Building
                                                                P.O. Box 11930
                                                          St. Paul, MN 55111-0930
                              OCTOBER 2, 2012

                                                                                                          File Number:           573511960
                              IVAN BROWN                                                                  Payee Number:          00
                              6997 CHESWICK DR                                                            Person Entitled:       I BROW
                              RIVERDALE GA 30296                                                          Deduction Code:        30
                                                                                                          E-Mail Address:     dmc.ops@va.gov




                              You should have recently received notice that your compensation &n_d Pension benefits were adjusted.
                              As a result, the amount of your existing debt has increased by $   3,600.00. The balance of your debt
                              is now $      33,575.54
                              If we are withholding all or part of your monthly VA benefit payment or offsetting your Federal pay or
                              retirement annuity to apply toward this debt, we will continue to do so until the new balance is collected.
                              If you are currently making payments on this debt, continue making those payments as agreed. We will
                              contact you if the amount of your monthly payment needs to be adjusted due to the increase in your
                              balance. Any payments being made to a U.S. Attorney or VA Regional Counsel should continue unless you
                              receive other instructions from those offices.

                              If you are not making payments on your debt and you wish to pay the . balance in full, you may do so by
                              sending us a check or money order made payable to the "U.S. Department of Veterans Affairs". All
                              payments should be mailed to P.O. Box 11930 at the address printed at the top of this letter. Please
                              include the bottom portion of this letter with your payment. For your convenience, we accept credit card
                              payments and Western Union "Quick Collect". If you cannot pay the balance in full, you may call us
                              toll free, 1-800-827-0648, to discuss payment options or other issues regarding- .your account.

                              Under certain circumstances, we can grant a request to waive part or all of the increased portion of the
                              debt. This means that you would not be required to pay the amount waived. You may call us on the
                              toll-free number mentioned above to determine if you are eligible for waiver .consideration for the increased
                              amount. If you• are eligible, your request for waiver must be filed within 180 days from the date of this
                              letter.

                              To help us provide courteous responses and accurate information, supervisory personnel occasionally monitor
                              telephone calls. The person monitoring keeps no record of your call.


                              Chief, Operations Division




            FOR PROPER CREDIT TO YOUR ACCOUNT, PLEASE DETACH AND RETURN WITH YOUR PAYMENT

                                                               2012276
               Department of Veterans Affairs                                   PAYMENT REMITTANCE

                       573511960003009270218152327 573511960 0030 09270218152327 0100000 2


        *   FILE NO.                                  AMOUNT ENCLOSED        ENTER YOUR CURRENT ADDRESS BELOW ONLY IF THE ONE ABOVE IS INCORRECT.
                                      573511960                              PLEASE INCLUDE YOUR ZIP CODE.
            PAYEE NO.
                                      00
            PERSON ENTITLED Os                        YOUR TELEPHONE NO.
                                      I BROW          (Include Area Code)

    .       DEDUCTION CODE 00
                                      30
i       * Please include this number on your check or money order.
        FL 4-552a, SEP 2007
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 OFFICE OF THE RAMSEY COUNTY ATTORNEY
 John J. Choi, County Attorney

 121 Seventh Place East, Suite 4500 St. Paul, Minnesota 55101-5001
 Telephone (651) 266-3344 • Fax (651) 266-3300
 Human Services Division — Child Support Enforcement Section

                                                                 Ivan Brown
                                                                 131 Dogwood Ln
                                                                 WOODBURY, GA 30293-2952
 November 26, 2019

 Re:    Lachaela Brown and Ivan Brown                                 ,
        Court File No. 62-FA-10-284
        1V-D No. 0014695466-01



                  NOTICE OF FAILURE TO PAY CHILD SUPPORT
               Please contact the child support office as soon as possible

Dear Ivan Brown,

This letter gives you the opportunity to explain why you have not been paying your monthly court
     ed child support obligation, Your current child support obligation for your child Navi Brown is
$751.20 per month and your current arrears balance is $88,985.48. You have not made a payment
12/27/16.

Please immediately send payments to:
                       Minnesota Child Support Payment Center
                       P. 0. Box 64326
                       St. Paul, MN 55164

If you continue to not pay child support, the County or Court may take the following actions:
    •   Driver's/Recreational/Occupational License Suspension
    •   Property Liens
    •   State/Federal Tax Intercepts
    •   Passport Denial
    •   Student Grant Holds
    6   Credit Bureau Reporting
    •   Civil Contempt Charges or Criminal Non-Support Charges

I have enclosed form called "Questionnaire for Obligor" for you to complete and return in the envelope
provided. Please answer the questions as completely as possible. The information will be used to help us
decide how to proceed with your child support case. You can also call me at 651-266-3352 to explain
your situation or if you need help filling out the questionnaire form. My office can review your current
situation to see if your case qualifies for a modification of support.

Sincerely,—

  ott Orrey
Support Enforcemen     -gent,
                                                       C(Y\O Li14 &Dr':
651-266-3352

                                                -+31Th,2_ (4,cS-0
                                   www.RamseyCountyAttomey.org
                                                                                                   LiD   Day
            Case 3:22-cv-00062-TCB Document 1-1 Filed 04/05/22 Page 38 of 38
                               IN THE SUPERIOR COURT OF CLAYTON COUNTY
                                           STATE ,OF
Lachaela Myret Brown
     PETITIONER } Civil Action File
vs.                  2012CS01628-6
    RESPONDENT 1
                                                                                       ORDER AND JUDGMENT
Ivan Brown
                                                           00 00 0. wit"!;
                                                          I. 1Jv Jcum
                                                     GO
         This matter came on for review           Cd) LiCilii 023    , 2016 in the above matter as
   previously ordered to determine the Respondent'sVcompliance with the prior Order previously
   entered herein. Upon the application of counsel for Petitioner, the Court determines tleit no
   hearing is required at this time and enters the following Order and Judgment:

   1. The Court finds that:

                   Respondent has a pending disability claim

                   Case has been closed due to non-cooperation of the custodial parent/initiating
                    ju-isdiction

                   Case is being removed from Calendar at this time for respondent locate and
                    subsequent judicial and/or administrative enforcement actions.

                                        c),-)ntei                    (, tall7;r10        0/)./..4r,Irti_cA7 )

   and accordingly, no hearing is required at this time. However, Respondent remains under the
   previous order entered herein, pursuant to 0.C.G.A. 19-11-124 (8), to provide written notice to
   counsel for Petitioner (whose name and address appear below) of any changes in the
   Respondent residential address or employment within ten (10) days of each such change. This
   duty of notification shall continue without further order for so long as the support obligation in this
   matter continues, or any support accruing remains unpaid, whichever is longer.


             S3 Ordered, Adjudged and Decreed this               ,-c).3       day of




                                                                       DEBORAH C. BENEFIELD, JUDGE
                                                                       Clayton Judicial Circuit




   Prepared by: Division of Child Support Services
   By: H. B. Watts 3 ,7-
   Assistant District Attorney
   Email: JonesboroCSE@dhr.state.ga.us
   H. R. Banke Justice Center, 3rd Floor
   9151 Tara Blvd., Jonesboro GA 30236
   tql. No.: 1-877-423-4746 Fax: 770-477-4560
   Ga. State Bar No: 741980




              REL-02.CX              DOSS Case No.:       3 o 6 10        ?                      revised 01/13
